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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            FORT MYERS DIVISION

  STEPHAN      H.      SLIWA,
  individually and on behalf
  of   all  others  similarly
  situated,

              Plaintiff,

  v.                                 Case No:     2:16-cv-235-FtM-29MRM

  BRIGHT HOUSE NETWORKS, LLC
  and ADVANCED TELESOLUTIONS,
  INC.,

              Defendants.


                                     ORDER

        This matter comes before the Court on defendant Bright House

  Networks, LLC's Motion for Settlement Conference (Doc. #147) filed

  on July 13, 2018.     Plaintiff filed a Response in Opposition (Doc.

  #150) on August 3, 2018.

        Defendant seeks to have the case referred to the United States

  Magistrate Judge for a settlement conference arguing that class

  certification “will also be denied in this case” based on the

  undersigned’s denial of class certification in Tillman v. Ally

  Fin., 2:16-cv-313-FTM-99CM, 2017 WL 7194275 (M.D. Fla. Sept. 29,

  2017); and further arguing that plaintiff’s deposition testimony

  establishes that he was not informed of a settlement offer until

  after counsel rejected it, and other inappropriate actions by
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  counsel.      The parties attended formal mediation without success,

  and defendant now seeks to have the Court order a settlement

  conference to ensure “meaningful settlement discussions.”                      (Doc.

  #147, p. 11.)

         Plaintiff’s counsel disagrees with defendant’s assessment,

  and    states    that     plaintiff     has     been   kept    fully   informed    of

  litigation and settlement offers.                In support, a Declaration of

  William “Billy” Peerce Howard (Doc. #150-2) was filed detailing

  conversations with the client.                Also filed, is an Affidavit of

  Scott K. Tozian, Esquire (Doc. #150-3) providing a professional

  opinion with regard to the statements in the Declaration, and

  counsel’s compliance with The Rules Regulating The Florida Bar.

  A Declaration (Doc. #150-5) by plaintiff himself.                   Counsel argues

  that    the     impediment       to   settlement       is   actually      defendant’s

  “categorical refusal to discuss settling on a class basis. . . .”

  (Doc. #150, p. 16.)

         A motion for class certification has not yet been filed, and

  while there may be several legal issues that will require review,

  it does not appear that a compelled settlement conference is the

  appropriate remedy.          Further, a settlement conference is not the

  appropriate       forum     to     address      concerns      regarding     counsel’s

  compliance with The Rules Regulating The Florida Bar.

         Accordingly, it is hereby




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        ORDERED:

        Defendant Bright House Networks, LLC's Motion for Settlement

  Conference (Doc. #147) is DENIED.

        DONE and ORDERED at Fort Myers, Florida, this              7th    day of

  August, 2018.




  Copies:
  Counsel of Record




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